                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re:
                                                        Chapter 7
BRANDON HEITMANN,                                       Case No. 24-41956-MAR
                                                        Hon. Mark A. Randon
                Debtor.
                                          /
MOHAMED SAAD,

         Plaintiff,
v.                                                      Adv. Pro. No. 24-04375-mar
                                                        Hon. Mark A. Randon
BRANDON HEITMANN,

     Defendant.
_____________________________________/

                       PLAINTIFF’S REPLY IN SUPPORT OF
                        MOTION TO COMPEL DISCOVERY

         Plaintiff, Mohamed Saad, by and through his attorneys, OSIPOV

BIGELMAN, P.C., states as follows for his Reply in Support of Motion to Compel

Discovery:

         On November 15, 2024, Plaintiff served requests for admissions,

interrogatories, and requests for the production of documents upon Defendant

Brandon Heitmann (“Defendant”) (see ECF No. 13).                On January 10, 2025,

Defendant filed responses to Plaintiff’s discovery requests (see ECF No. 16). On

March 27, 2025, after notifying Defendant’s counsel of certain deficiencies in

Defendant’s responses, Plaintiff’s counsel emailed a draft Motion to Compel


     24-04375-mar     Doc 74   Filed 05/02/25   Entered 05/02/25 17:43:01   Page 1 of 7
Discovery, specifically identifying the issues. On March 28, 2025, the parties held

a “meet and confer” to discuss the matter. On April 17, 2025, Plaintiff filed a Motion

to Compel Discovery (ECF No. 40, the “Motion”) highlighting deficiencies with the

Defendant’s discovery responses. Defendant provided some supplemental discovery

on April 30, 2025 and filed a response to the Motion on May 1, 2025 (ECF No. 72,

the “Response”). While Defendant’s Response and supplemental discovery may

address some of the deficiencies identified in the Motion, 1 certain issues remain.

    Defendant’s Improper Relevance, Specificity, and Undue Burden Objections

        In his Response, Defendant contends that certain of Plaintiff’s requests are

“clearly irrelevant, vague, overly broad and unduly burdensome.” However, the

requests identified specifically deal with Exigent’s financial condition, activities,

and dealings with the Defendant and his wife, during the period when Exigent and

Defendant were in possession of and misappropriating Plaintiff’s money.

        Pursuant to the Michigan Building Contract Fund Act, MCL § 570.151, et.

seq. (“MBCFA”), “[t]he appropriation by a contractor, or any subcontractor, of any

moneys paid to him for building operations before the payment by him of all moneys

due or so to become due laborers, subcontractors, materialmen or others entitled to

payment, shall be evidence of intent to defraud.” MCL 570.153. Defendant was



1
 In his response, Defendant agrees to strike his “General Objections” (see Response, page 3) and
improperly filed responses to Interrogatories (see Response, page 4).


    24-04375-mar    Doc 74    Filed 05/02/25     Entered 05/02/25 17:43:01       Page 2 of 7
Exigent’s sole member and its chief executive officer. He oversaw its finances and

was the sole person with check-signing authority. All of Exigent’s money had to go

through Defendant. Accordingly, Defendant is personally liable for Exigent’s

violations of the MBCFA.2

       Plaintiff paid $350,000.00 to Defendant. Plaintiff’s production requests seek

documentation identifying, tracing, and accounting for Plaintiff’s funds that were

entrusted to Exigent (and Defendant). Under the MBCFA, Defendant was a trustee

and fiduciary for Plaintiff’s funds. Plaintiff is entitled to an accounting to see where

his money went. Defendant cannot object that Plaintiff’s requests for documentation

of the use of his funds, which were to be held in trust, is “irrelevant.”

          Defendant’s Failure to Provide Documents Related to Exigent

       As set forth in the Motion, Defendant failed to produce documents in response

to several of Plaintiff’s requests.3 In his Response, Defendant attempts to justify this

failure by objecting to Plaintiff’s requests for “records related to a corporate entity,


2
  Officers, members, owners, and even employees of a business in the construction industry may
be held individually liable for misappropriating funds received by the business for any other
purpose other than first paying subcontractors, suppliers and laborers. MCL 570.151 et seq.; BC
Tile & Marble Co. v. Multi Bldg. Co., 288 Mich. App. 576, 586-587 (2010). Individual liability
does not require a plaintiff to pierce the corporate veil because the MBCFA directly provides for
liability of corporate officers. Trustees of the Mich. Regional Council of Carpenters Employee
Benefits Fund v. Accura Concrete Walls, Inc., 408 F. Supp. 2d 370 (E.D. Mich. 2005). See also,
People v. Brown, 239 Mich. App. 735, 739-740; 610 N.W.2d 234 (2000); In re: Kenn R. Kriegish,
275 B.R. 838, 840 (ED Mich 2002), aff'd 97 Fed Appx 4, 2004 (6th Cir 2004).

3
 On April 30, 2025, Defendant provided some additional documents that may be responsive to
some of Plaintiff’s production requests. Given how recently such documents were produced,
Plaintiff is still in the process of reviewing, and accordingly reserves all rights.


    24-04375-mar    Doc 74     Filed 05/02/25    Entered 05/02/25 17:43:01       Page 3 of 7
Exigent, which is no longer operational and not a named party of defendant.” There

are several problems with Defendant’s objection.                     First, as set forth above,

Defendant was the sole member, CEO, and person responsible for Exigent’s

financial and business operations. Defendant has maintained this role throughout

Exigent’s bankruptcy case (initially filed as Chapter 11, subsequently converted to

Chapter 7). When the parties met to confer regarding their discovery disputes,

Defendant’s counsel, understanding Defendant’s role with Exigent and the nature of

Plaintiff’s claims, assured Plaintiff that Defendant would not withhold documents

due to their corporate origin. It is disingenuous, at best, for Defendant to now

disclaim knowledge of Exigent’s activities and pretend a lack of access to its records.

       Defendant’s failure to produce documents accounting for the $350,000.00

entrusted to him by Plaintiff is particularly problematic. If Defendant cannot or will

not produce documents accounting for his and Exigent’s use of the funds entrusted

to him, he should be precluded from subsequently attempting to present evidence

concerning his use of Plaintiff’s funds. Moreover, under the MBCFA, Defendant,

as a contractor, has a personal fiduciary responsibility to shepherd the property

entrusted to him and his company. His failure to account for the disposition of the

trust funds establishes defalcation. 4 Such defalcation is, itself, evidence of intent to



4
 “Michigan courts have repeatedly stated in various contexts that a trustee must account to the
beneficiaries for the disposition of trust funds. . . .Failure to properly so account is, by definition,


    24-04375-mar      Doc 74     Filed 05/02/25      Entered 05/02/25 17:43:01         Page 4 of 7
defraud. M.C.L. § 570.153. If Defendant cannot or will not account for Exigent’s

use of Plaintiff’s funds, he has no defense against Plaintiff’s claims.

       WHEREFORE, Plaintiff respectfully requests that this Court enter an

appropriate Order compelling discovery and granting such other relief as the Court

finds just and equitable, under the circumstances.

Dated: May 2, 2025
                                                 OSIPOV BIGELMAN, P.C.

                                                 /s/ Jeffrey H. Bigelman
                                                 JEFFREY H. BIGELMAN (P61755)
                                                 Attorney for Plaintiff
                                                 20700 Civic Center Drive Suite 420
                                                 Southfield, MI 48076
                                                 248.663.1800
                                                 jhb@osbig.com




a defalcation.” Miller v. Safford (In re Safford), Nos. 19-30059, 19-3023, 2021 Bankr. LEXIS
3227, at *8 (Bankr. E.D. Mich. Nov. 23, 2021) (internal quotations and citations omitted).


  24-04375-mar     Doc 74    Filed 05/02/25    Entered 05/02/25 17:43:01     Page 5 of 7
                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re:
                                                         Chapter 7
BRANDON HEITMANN,                                        Case No. 24-41956-MAR
                                                         Hon. Mark A. Randon
                Debtor.
                                           /
MOHAMED SAAD,

         Plaintiff,

v.                                                       Adv. Pro. No. 24-04375-MAR
                                                         Hon. Mark A. Randon
BRANDON HEITMANN,

         Defendant.

_____________________________________/

                               CERTIFICATE OF SERVICE

         On May 2, 2025, I hereby certify that I electronically served PLAINTIFF’S

REPLY IN SUPPORT OF MOTION TO COMPEL DISCOVERY with the Clerk of

the Court using the CM/ECF system, which will send notification of such filing to

the following is the list of parties who are currently on the list to receive email

notice/service for this case:


Robert N. Bassel on behalf of Defendant Brandon Heitmann
bbassel@gmail.com, robertbassel@hotmail.com;ecfbassel@gmail.com

Jeffrey H. Bigelman on behalf of Plaintiff Mohamed Saad
jhb_ecf@osbig.com, tc@osbig.com;mk@osbig.com


     24-04375-mar     Doc 74    Filed 05/02/25   Entered 05/02/25 17:43:01   Page 6 of 7
Anthony James Miller on behalf of Plaintiff Mohamed Saad
am@osbig.com

Yuliy Osipov on behalf of Plaintiff Mohamed Saad
yotc_ecf@yahoo.com, yo_ecf@osbig.com;tc_ecf@osbig.com

Tyler Phillips on behalf of Defendant Brandon Heitmann
tphillips@kotzsangster.com,
lpfund@kotzsangster.com;mdelorme@kotzsangster.com;aclark@kotzsangster.com

Dated: May 2, 2025
                                            OSIPOV BIGELMAN, P.C.

                                            /s/ Jeffrey H. Bigelman
                                            JEFFREY H. BIGELMAN (P61755)
                                            Attorney for Plaintiff
                                            20700 Civic Center Drive Suite 420
                                            Southfield, MI 48076
                                            248.663.1800
                                            jhb@osbig.com




 24-04375-mar   Doc 74   Filed 05/02/25   Entered 05/02/25 17:43:01   Page 7 of 7
